       Case 1-18-44202-ess            Doc 17       Filed 10/11/18   Entered 10/11/18 13:41:54




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------x     Case No: 18-44202
IN RE:
                                                            DECLARATION OF COMPLIANCE
VANESSA DEBELLOTTE,
aka VANESSA HARRIS,

                                    Debtor.
------------------------------------------------------x

       Vanessa Debellotte, (hereinafter “Debtor”) being duly sworn and under penalty of
perjury, declares and states in support of confirmation of the above captioned bankruptcy case
that:

(Must check either A or B)

1._____ (A) The undersigned Debtor has domestic support obligations pursuant to 11 U.S.C.
Section 101(14)A and has paid all domestic support obligations required to be paid pursuant to
11 U.S.C. Section 1325(a)(8).

   X (B) The undersigned Debtor does NOT have domestic support obligations pursuant to
11 U.S.C. Section 101(14A).

(Must check either A or B)

2. X (A) The undersigned Debtor is required to file tax returns and has filed all applicable
and required Federal, State and local tax returns pursuant to 11 U.S.C. Section 1308.

 ______ (B) The undersigned Debtor is NOT required to file tax returns.


By signing this declaration, I acknowledge that all statements contained herein are true and
accurate and that the Trustee may rely on the truth of each of these statements in making
its recommendation to confirm the Chapter 13 plan. The Trustee may seek revocation of
the Chapter 13 plan if the statements relied upon are not accurate.


                                                     ______________________________
                                                     VANESSA DEBELLOTTE, Debtor
